    Case 4:18-cr-00087-ALM-KPJ Document 151 Filed 03/06/19 Page 1 of 2 PageID #: 1118
                           IN UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                             SHERMAN DIVISION

                                           DATE: 3/6/2019

DISTRICT JUDGE                                        COURT REPORTER: Jan Mason

Amos L. Mazzant, III                                  COURTROOM DEPUTY: Lori Stover
  USA vs. LAURA JORDAN, MARK JORDAN                   4:18CR87


  ATTORNEYS FOR GOVERNMENT                                ATTORNEYS FOR DEFENDANTS

  Chris Eason, Glen Jackson, Maureen Smith, Bradley       Jeff Kearney, Dan Cogdell, Dennis Hester, Reagan
  Visosky, attorneys; Andrew Walton, Bill Messer,         Wynn, attorneys; Laura Jordan, Mark Jordan, Jordan
  Garin Reetz                                             Ray

On this day, came the parties by their attorneys and the following proceedings were held in Sherman, TX:

 TIME:       MINUTES: JURY TRIAL - DAY 17
 10:00 am    Court in session. Note #1 (identifying jury foreperson) from the jury dated 3/5/2019.

             Court in receipt of Note #2. After discussion with counsel, the Court provided a written
             response.
             Counsel discussion regarding exhibits.

 10:20 am    Jury Note #2 delivered to the Jury. Court in recess.

 10:29 am    The Court makes distinction on the record regarding exhibits.

 10:32 am    Court is in recess.

 10:57 am    Court in receipt of Note #3. After discussion with counsel, the Court provides a written response.

 11:00 am    Jury Note #3 delivered to the Jury. Court in recess.

 11:15 am    Court in receipt of Note #4. After discussion with counsel, the Court provides a written response.

 11:17 am    Jury Note #4 delivered to the Jury. Court in recess.

 3:03 pm     Court in receipt of Note #5. After discussion with counsel, the Court provides a written response.

 3:10 pm     Jury Note #5 delivered to the Jury. Court in recess.
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    CASE NO. 4:18cr87       DATE: 3/6/19
    PAGE 2 - PROCEEDINGS CONTINUED: JURY TRIAL DAY 17



TIME:     MINUTES: JURY TRIAL - DAY 17
4:30 pm   Court in receipt of Note #6 requesting to leave for the day. After discussion with counsel, the
          Court provides a written response.
4:33 pm   Jury Note #6 delivered to the Jury. Court adjourned until 9:00 a.m in the morning.




                                                 DAVID O'TOOLE, CLERK

                                                 BY:      Lori Stover
                                                         Courtroom Deputy Clerk
